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GAS 187(Rev. 07/08) Exhibit and Witness List

United States District Court
Southern District of Georgia

 

 

 

 

 

 

 

UNITED STATES OF AMERICA
V. EXHIBIT AND WITNESS LIST

MAKEDA ATKINSON

CASE NUMBER: 218-CR-47
PRESIDING JUDGE PLAINTIFF'S ATTORNEY DEFENDANTS ATTORNEY
Benjamin W. Cheesbro Jennifer Kirkland John Ossick
TRIAL DATE(S) COURT REPORTER COURTROOM DEPUTY
3-5-2019 FTR-BWK-CR1 Kim Mixon
na. No. onrnreD MARKED |ADMITTED DESCRIPTION OF EXHIBITS. AND WITNESSES
1 3/5/19 CD of police interview of Makeda Atkinson
2 3/5/19 Miranda Warning Rights and Waiver Form

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

include a notation as to the location of any exhibit not held with the case file or not available because of size.

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